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 1                                   NOT FOR PUBLICATION
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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   RaeAnn Patton,                                   No. CV-16-02983-PHX-JJT
10                 Plaintiff,                         ORDER
11   v.
12   Sterling Jewelers Incorporated, et al.,
13                 Defendants.
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16           Upon review of the Stipulation to Dismiss Sterling Jewelers, Inc. With Prejudice
17   (Doc. 45), filed by Plaintiff and Defendant Sterling Jewelers, Inc., only, and good cause
18   appearing,
19            IT IS ORDERED granting the Stipulation (Doc. 45). The above-entitled matter is
20   hereby dismissed with prejudice as to Defendant Sterling Jewelers, Inc., only, the parties
21   to bear their own costs and attorneys’ fees.
22           Dated this 2nd day of February, 2017.
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                                           Honorable John J. Tuchi
25                                         United States District Judge
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